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                         UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION

                           Civil Action No. 2:18-cv-2522-RMG


 Susan A. Butler,

                                    Plaintiff,
                                                 PLAINTIFF’S ANSWERS TO
 vs.                                                 LOCAL RULE 26.01
 Carl L. King, J.D.; Megan W. Dunham,
                                                    INTERROGATORIES
 J.D.; and CULP ELLIOTT & CARPENTER,
 PLLC,

                                Defendants.



       Plaintiff, Susan A. Butler, answers the Local Civil Rule 26.01 Interrogatories for the

United States District Court for the District of South Carolina as follows:

(A)    State the full name, address, and telephone number of all persons or legal entities

who may have a subrogation interest in each claim and state the basis and extent of said

interest.

ANSWER:       Plaintiff is unaware of any subrogation interests at this time.



(B)    As to each claim, state whether it should be tried jury or non-jury and why.

ANSWER:       Plaintiff’s claims should be tried by a jury because her causes of action,

Legal Professional Negligence and Breach of Contract are legal causes of action.



(C)    State whether the party submitting these responses is a publicly owned company
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and separately identify: (1) each publicly owned company of which it is a parent,

subsidiary, partner, or affiliate; (2) each publicly owned company which owns ten percent

or more of the outstanding shares or other indicia of ownership of the party; and (3) each

publicly owned company in which the party owns ten percent or more of the outstanding

shares.

ANSWER:       Not applicable.



(D)    State the basis for asserting the claim in the division in which it was filed (or the

basis of any challenge to the appropriateness of the division). See Local Civil Rule 3.01.

ANSWER:       Venue in this judicial district and division is proper pursuant to 28 U.S.C. §

1391(b)(2) in that this action was commenced in the judicial district in which a substantial

part of the events or omissions giving rise to the claim occurred, or pursuant to 28 U.S.C.

§ 1391(b)(3) in that the Defendants are subject to this Court’s personal jurisdiction with

respect to this action.



(E)    Is this action related in whole or in part to any other matter filed in this District,

whether civil or criminal? If so, provide (1) a short caption and the full case number of the

related action; (2) an explanation of how the matters are related; and (3) a statement of

the status of the related action. Counsel should disclose any cases which may be related

regardless of whether they are still pending. Whether cases are related such that they

should be assigned to a single judge will be determined by the Clerk of Court based on a

determination of whether the cases: arise from the same or identical transactions,

happenings, or events; involve the identical parties or property; or for any other reason

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would entail substantial duplication of labor if heard by different judges.

ANSWER:        There are no known related civil actions pending in this District.



(F)    If the defendant is improperly identified, give the proper identification and state

whether counsel will accept service of an amended summons and pleading reflecting the

correct identification.

ANSWER:        No response required by Plaintiff.



(G)    If you contend that some other person or legal entity is, in whole or in part, liable

to you or the party asserting a claim against you in this matter, identify such person or

entity and describe the basis of said liability.

ANSWER:        Not applicable.

                                            Respectfully submitted,

                                            PENDARVIS LAW OFFICES, P.C.

                                            s/ Thomas A. Pendarvis________
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Beaufort, South Carolina

September 12, 2018




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